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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7
     KIERA LEE ANDERSON,
 8
                                   Plaintiff,               Case No. C20-1600 RAJ
 9
            v.                                              ORDER GRANTING
10                                                          APPLICATION TO PROCEED IN
     COMMISSIONER OF SOCIAL SECURITY,                       FORMA PAUPERIS
11
                                   Defendant.
12
            The Court GRANTS plaintiff’s in forma pauperis application, Dkt. 1, and ORDERS:
13
            (1)      Plaintiff shall be issued summonses.
14
            (2)      Plaintiff is responsible for serving the complaint and summonses, and must file
15
     proof of service as required by Rule 4 of the Federal Rules of Civil Procedure. Plaintiff may
16
     effectuate service electronically as detailed in General Orders 04-15 and 05-15, by sending a
17
     copy of the summonses and complaint, along with plaintiff’s identifying information, by email to
18
     USAWAW.SSAClerk@usdoj.gov.
19
            DATED this 5th day of November, 2020.
20

21                                                                 A
                                                            BRIAN A. TSUCHIDA
22                                                          Chief United States Magistrate Judge

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     ORDER GRANTING APPLICATION TO
     PROCEED IN FORMA PAUPERIS - 1
